                                  CASE 0:21-cr-00173-PJS-DTS Doc. 23 Filed 08/24/21 Page 1 of 1

                                       IN THE UNITED STATES DISTRICT COURT
                                                    FOR THE DISTRICT OF MINNESOTA

                                                    ARRAIGNMENT MINUTES
UNITED STATES OF AMERICA,                                                      COURT MINUTES - CRIMINAL
                 Plaintiff,                                                         BEFORE: HILDY BOWBEER
 v.                                                                                    U.S. Magistrate Judge

Anton Joseph Lazzaro,                                                   Case No:               21-cr-173 WMW/DTS
                                       Defendant.                       Date:                  August 24, 2021
                                                                        Courthouse:            St. Paul
                                                                        Courtroom:             7C
                                                                        Court Reporter:        Lori Simpson
                                                                        Time Commenced:        2:00 p.m.
                                                                        Time Concluded:        2:07 p.m.
                                                                        Time in Court:         7 minutes


APPEARANCES:
   Plaintiff: Laura Provinzino and Angela Munoz, Assistant U.S. Attorney
   Defendant: Zachary Newland, Jeremy Gordon, and Hillary Parsons
         X Retained

Indictment Dated: August 11, 2021

          X Reading of Indictment Waived                  X Not Guilty Plea Entered

Government Disclosures Due Date:                    August 31, 2021
Defendant’s Disclosures Due Date:                   September 7, 2021
Motion Filing Date:                                 September 14, 2021
Motion Response Date:                               September 28, 2021
Notice of Intent to call Witnesses:                 September 28, 2021
Responsive Notice Deadline:                         October 1, 2021
Motion Hearing Date:                                October 7, 2021 at 2:00 p.m. before U.S. Magistrate Judge David T. Schultz, CR 9E
                                                                Mpls
Voir Dire/Jury Instruction Due Date:                TBD
Status Conference Date:                             NA
Trial Date:                                         TBD. before U.S. District Judge Wilhelmina M. Wright, CR 7A STP

Other Remarks:
X Counsel to be notified of additional dates by separate Order to be issued.

                                                                                                                          s/JAM
                                                                                                   Signature of Courtroom Deputy




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